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Attorneys J¢ér Defendant, Actna Life Insurance Company.
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UNITED STATES DISTRICT COURT

EMMA KURYLA, i : FOR THE DISTRICT OF NEW JERSEY
Plaintiff, CIVIL ACTION NO. 08-474 (ORD)

vs . :

AETNA LIFE INSURANCE

COMPANY, BUSINESS COUNCIL OF :
NEW YORK AND EL AL AIRLINES,

Defendant,

CIVIL ACTION - CONSENT ORDER OF DISMISSAL

THIS MATTER having been opened to the Court upon the joint application of
McElroy, Deutsch, Mulvaney & Carpenter, LLP, attorneys for defendant, Aetna Life Insurance
Company, and Abramson & Carey, attorney’s for the plaintiff, Emma Kuryla and the Court having
been apprised that the parties hereto have reached a full and final resolution and settlement of this
civil action, and having been further apprised that the parties desire to dismiss with prejudice,
without costs and with each party bearing their own attorneys fees, this civil action, however,
providing for the retention of jurisdiction for the purpose of enforcing the settlement, if necessary,
and the Court having reviewed and considered all pleadings and proceedings in this matter to date,

and good cause having existed for the entry of the within order;

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IT IS on this ls day of Ailes , 2008

ORDERED that this civil action i and the same hereby is dismissed with prejudice, without

costs and with each party bearing their own attorney fees; and be it further
ORDERED that the Court shall retain jurisdiction limited to any action or proceeding

brought by any party seeking to enforce the terms

parties,

The undersigned attorneys hereby consent to the form, content and entry of the within order:

MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP

Abromson & Carey
Attorneys for Plai a Kuryla

Glenn B. Carey, Esq.

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